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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.



          PARTIES’ JOINT FILING REGARDING PROPOSED REDACTIONS

       Pursuant to the Court’s Minute Order dated August 20, 2019, the parties have reviewed

the transcript of both the sealed and unsealed portions of the August 20 status hearing. The

parties respectfully request that the Court approve the redactions reflected in the attached exhibit,

which is being filed under seal. The two sets of proposed redactions, which are both from the

public portion of the hearing, refer to the content of the intermediate sensitive discovery. If the

Court approves these redactions, the parties will file a redacted version of the transcript on the

public docket. The parties do not oppose the unsealing of this motion.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       While there is a “strong presumption in favor of public access to judicial proceedings,”

Johnson v. Greater SE Cmty. Hosp. Corp., 951 F.2d 1268, 1277 (D.C. Cir. 1991), that



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presumption is not absolute. In Hubbard, the D.C. Circuit identified six factors “that might act

to overcome this presumption.” United States v. Harris, 204 F. Supp. 3d 10, 16 (D.D.C. 2016).

They are: “(1) the need for public access to the documents at issue; (2) the extent of previous

public access to the documents; (3) the fact that someone has objected to disclosure, and the

identity of that person; (4) the strength of any property and privacy interests asserted; (5) the

possibility of prejudice to those opposing disclosure; and (6) the purposes for which the

documents were introduced during the judicial proceedings.” Id. (citation omitted).

       Here, these factors weigh in favor of sealing the information identified in Exhibit A.

With respect to the first factor, the need for public access to the documents, the public need is at

its greatest when the information at issue is specifically referenced in a public decision of the

Court. Id. That is not the case here, where the proposed redactions concern statements about the

intermediate sensitive discovery, which is subject to restrictions on dissemination set forth in the

proposed modified protective order. Second, the public has not had previous access to this

information. Third, the government objects to the disclosure of information related to the

content of the intermediate sensitive discovery. Fourth, the government has articulated a strong

interest in favor of sealing, namely protecting the law enforcement and national security interests

implicated by the intermediate sensitive discovery. Fifth, the possibility of prejudice to the party

opposing disclosure, the government, is high.

       The parties also do not oppose lifting the redaction to the Court’s Memorandum Opinion

and Order (Doc. 161) discussed at the hearing.

                                       Respectfully submitted,


JOHN C. DEMERS                                                JESSIE K. LIU
Assistant Attorney General for National Security              United States Attorney




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By: /s/                                                      By: /s/
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                             CERTIFICATE OF SERVICE

I hereby certify that on August 22, 2019, I caused a copy of the foregoing filing to be

transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.



                                                     By: /s/
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